                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
STERLING RIVERS                                    )

                                           ORDER

      Pending before the Court is a Joint Motion for Extension of Time to File Sentencing Position

(Docket No.1734). The Motion is GRANTED.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00194      Document 1735        Filed 01/15/14      Page 1 of 1 PageID #: 10760
